       Case 8-20-72020-reg            Doc 11       Filed 05/21/20    Entered 05/21/20 13:36:26




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

JESSICA FLORES,                                                     Case No. 8-20-72020

                                    Debtor.                         Chapter 7
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             DECLARATION OF DEBTOR REGARDING PAYMENT ADVICES

        Jessica Flores, the above-captioned debtor, hereby declares as follows:

        1.       Bankruptcy Code Section 521 requires consumer debtors to file payment advices

reflecting the income received by an employer in the 60 days preceding the filing of a

bankruptcy petition. Attached are the paystubs I received during that period.

        2.       I swear under penalty of perjury that the foregoing is true and accurate.



Dated: May 21, 2020
       Astoria, New York


                                                                     /s/ Jessica Flores
                                                                    Jessica Flores
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